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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,             )
                                      )
                   Plaintiff,         )
                                      )
             v.                       )               Case No. 1:04-cv-00798-PLF
                                      )
ALL ASSETS HELD AT BANK JULIUS )
Baer & Company, Ltd., Guernsey        )
Branch, account number 121128, in the )
name of Pavlo Lazarenko, et al.       )
                                      )
                   Defendants In Rem )

                              UNITED STATES’ NOTICE OF
                         WITHDRAWAL MOTION TO SEAL EXHIBIT

        Plaintiff, United States of America, by and through its undersigned attorneys, respectfully

submits this Notice withdrawing its May 3, 2019, Motion for Leave to File Document Under

Seal (Dkt. No. 1160). In its Motion, the United States sought to file Exhibit 4 to its Opposition

to Quash Government Subpoenas (Dkt. No. 1159) under seal. Based on information provided by

counsel to Pavel Lazarenko on May 6, 2019, it appears that this document was already publicly

filed in a prior filing in this matter.

        Given that the aforementioned document is already publicly available, the United States

no longer seeks the Court’s permission to submit Exhibit 4 to its Opposition to Quash

Government Subpoenas (Dkt. No. 1159) under seal. The United States requests that the

document also be included as part of Dkt. No. 1159.

        .

                                             Respectfully submitted,

                                             DEBORAH CONNOR, CHIEF
                                             MONEY LAUNDERING AND
                                               ASSET RECOVERY SECTION
Case 1:04-cv-00798-PLF-GMH Document 1161 Filed 05/07/19 Page 2 of 2




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